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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MARYLAND
                                    Greenbelt Division

Kilmar Armando Abrego Garcia, et al.,

                       Plaintiffs,
                                                       Case No.: 8:25-CV-00951-PX
v.

Kristi Noem, et al.,

                       Defendants.


                                     Interim Motion to Seal
                          Joint Letter Regarding Discovery Sanctions

       Pursuant to Local Rule 105.11 and the parties’ Stipulated Confidentiality Order, ECF No.

95, Plaintiffs move to seal the accompanying Joint Letter Regarding Discovery Sanctions and the

exhibits thereto, filed today under the Court’s April 15, 2025 Letter Order, ECF No. 80.

       Plaintiffs represent the following facts to justify sealing under Local Rule 105.11. The

parties’ Stipulated Confidentiality Order requires a party to file under seal any materials that have

been designated as Confidential or Attorney’s Eyes Only by another party. In particular, paragraph

2 of the Confidentiality Order states:

       To the extent that any materials designated as Confidential or Attorney's Eyes
       Only under this Confidentiality Order (or any pleading, motion, or memorandum
       disclosing them) are proposed to be filed or are filed with the Court, the portions
       of those materials containing Confidential or Attorney's Eyes Only information
       shall be redacted by the filing party. Non-redacted versions shall be filed under
       seal (by the filing party) with the Clerk of the Court with a simultaneous motion
       pursuant to L.R. 104.13(c) (hereinafter the “Interim Sealing Motion”), in
       accordance with the current version of the Court's Electronic Filing Requirements
       and Procedures for Civil Cases. The Interim Sealing Motion shall be governed by
       L.R. 105.11, provided that the Court can deny an Interim Sealing Motion prior to
       14 days in part or in full. Even if the filing party believes that the materials
       designated as Confidential or Attorney's Eyes Only are not properly classified as
       Confidential or Attorney's Eyes Only, the filing party shall file the Interim
       Sealing Motion; provided, however, that the filing of the Interim Sealing Motion
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       shall be wholly without prejudice to the filing party rights under paragraph (4) of
       this Confidentiality Order.

ECF No. 95, ¶ 2 (emphasis added).

       The accompanying Joint Letter Regarding Discovery Sanctions contains discussions of the

Government’s discovery deficiencies, interrogatory responses, and productions. Exhibit A to the

Joint Letter contains highly redacted internal messages produced during discovery. Exhibit B to

the Joint Letter contains the Government’s May 30 production letter. Exhibit C to the Joint Letter

contains the Government’s May 30 supplemental interrogatory responses. Exhibit D to the Joint

Letter contains redline a comparison between the Government’s May 30 supplemental

interrogatory responses and its May 19 responses. The Government has designated these materials

as Confidential or Attorneys’ Eyes Only under the Stipulated Confidentiality Order and confirmed

by e-mail that they were maintaining their designations in connection with Plaintiffs’ filing.

Accordingly, pursuant to the Confidentiality Order, “even if [Plaintiffs] believe that the materials

designated as Confidential or Attorney's Eyes Only are not properly classified as Confidential or

Attorney’s Eyes Only,” they are required to file this motion seeking to maintain the designated

material under seal. Id.

       Further, Plaintiffs are not simultaneously filing a public version of the Joint Letter

Regarding Discovery Sanctions and the exhibits thereto, as the Government has designated the

entirety of these materials Confidential or Attorneys Eyes Only. Plaintiffs rely on the Government

to identify reasons why alternatives to sealing the material not filed publicly would not provide

sufficient protection.




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Dated: June 3, 2025

                                              /s/ Jonathan G. Cooper
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